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                 4                                UNITED STATES DISTRICT COURT
                 5                                       DISTRICT OF NEVADA
                 6                                                   ***
                 7    HAYND (“CLAUDIA”) KIRKSEY,                            Case No. 2:18-CV-946 JCM (DJA)
                 8                                          Plaintiff(s),                     ORDER
                 9           v.
               10     GEICO CASUALTY COMPANY,
               11                                         Defendant(s).
               12
               13            Presently before the court is the parties’ stipulation to continue calendar call and trial.
               14     (ECF No. 32). The parties stipulated to reschedule the calendar call and trial dates for a date and
               15     time after their December 11, 2020 binding arbitration hearing. (Id. at 2).
               16            Accordingly,
               17            IT IS HEREBY ORDERED, ADJUDGED, and DECREED that the calendar call date in
               18     this case is now July 21, 2021 at 1:30pm and that the trial date is July 26, 2021 at 9:00am.
               19            DATED October 21, 2020.
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               21                                                   UNITED STATES DISTRICT JUDGE

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James C. Mahan
U.S. District Judge
